
The Chancellor.
The turnpike stock is an absolute specific legacy, to be enjoyed by the receipt of the dividends.
The gift of the produce of a fund, without limit as to time is a gift of the fund.
The interest of each of the legatees is therefore vested and assignable.
The court of chancery will lend its aid to carry out the in tent of the testator; and to save the fund from loss or great depreciation, may change its mode of enjoyment.
In this case, as the stock is depreciating, I think it should be divided among the legatees or their representatives.
In taking the account, the master will inquire,
First, "Who are entitled to the stock and its dividends, and the amount of their respective interests.
Secondly, What amount of dividends the executor has re ceived and paid out, and to whom paid; how much remains in bis hands, and to whom it is due, making all just allowances.
Order accordingly.
See same case, 4 Hal. Ch. 806.
Cited in Gulick's Ex. v. Gulick, 10 C. E. Gr. 328.
